                               Case 16-22780        Doc 67     Filed 03/10/20      Page 1 of 1

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
                                     In re:    Case No.: 16−22780 − DER        Chapter: 13

Theresa Michelle Harris
Debtor


                                              DEFICIENCY NOTICE
DOCUMENT:                  66 − Application For Payment Of Unclaimed Funds from the Court Registry in the amount of
                           $1217.19 Filed by Theresa Marquette Porter. (Attachments: # 1 Cover Letter # 2 Affidavit # 3
                           Supplement) (Maloney−Raymond, Michelle)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 3/24/20.

                           1. Claimant must provide a non redacted drivers license for Marquette Porter.

                           2. Claimant must provide an original W−9 document for the Deen Group, LLC. signed
                           with original signatures, by Stephen Sahibdeen and Pearl Henry.

                           3. Claimant must provide a non redacted drivers license for Peal Henry, member of The
                           Deen Group,
                           LLC.

                           4. Claimant must provide an original Engagement Letter and Limited Power of Attorney
                           signed by Pearl Henry.

CURE:                      Please submit the above documents by the cure date shown above.

CONSEQUENCE: Failure to cure the problem by the date above may result in the pleading being stricken or other
             action the Court deems appropriate without further notice. For a proposed order, the failure to
             cure the problem may result in the relief sought being denied for want of prosecution.


Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 3/10/20
                                                                Mark A. Neal, Clerk of Court
                                                                by Deputy Clerk, Michelle Maloney−Raymond
                                                                410−962−4373
cc:    Debtor
       Attorney for Debtor − PRO SE
       Creditor − Marquette Porter

defntc (rev. 12/12/2016)
